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&lt;div&gt;23CA1799 No Pipe Dream v Larimer County 10-03-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA1799 &lt;/div&gt;
&lt;div&gt;Larimer County District Court No. 20CV30800&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable Laurie K. Dean, Judge &lt;/div&gt;
&lt;div&gt;Honorable Gregory M. Lammons, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No Pipe Dream Corporation, Save the Poudre, and Barry Feldman, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiffs-Appellants and Cross-Appellees, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Larimer County Board of County Commissioners; Commissioner Tom Donnelly, &lt;/div&gt;
&lt;div&gt;in his official capacity as a Larimer County Commissioner; and &lt;span&gt;Commissioner &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Steve Johson, in his official capacity as a Larimer County Commissioner, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendants-Appellees,  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;and &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Northern Integrated Supply Project Water Activity Enterprise,  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellee and Cross-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VII &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE TOW &lt;/div&gt;
&lt;div&gt;Kuhn and Taubman*, JJ., concur&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Foote Law Firm LLC, Michael Foote, &lt;span&gt;L&lt;/span&gt;ouisville, Colorado, for Plaintiff&lt;span&gt;-Appellant &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and Cross-Appellee No Pipe Dream Corporation  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;John M. Barth, Hygiene, Colorado, for Plaintiff&lt;span&gt;s-Appellants and Cross-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Appellees Save the Poudre and Barry Feldman &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;William G. Ressue, County Attorney, Frank Haug, Assistant County Attorney, &lt;/div&gt;
&lt;div&gt;Fort Collins, Colorado, for Defendants&lt;span&gt;-Appellees  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Trout Raley, Bennett W. Raley, Peggy E. MontaÃ±o, William Davis Wert, Vanya &lt;/div&gt;
&lt;div&gt;P. Akraboff, Denver, Colorado, for Defendant-Appellee and Cross-Appellant  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Daniel L. Money, Windsor, Colorado, for Amicus Curiae Town of Windsor &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Vranesh and Raisch, LLP, Peter C. Johnson, Andrea A. Kehrl, &lt;span&gt;Robyn L. &lt;/span&gt;Smith, &lt;/div&gt;
&lt;div&gt;Boulder, Colorado, for Amicus Curiae Town of Erie &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;*Sitting by assignment of the Chief Justice under provisions of Colo. Const. art. &lt;/div&gt;
&lt;div&gt;VI, Â§ 5(3), and Â§ 24-51-1105, C.R.S. 2024.&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs, No Pipe Dream Corporation, Save the Poudre, and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Barry Feldman, appeal the district court&lt;span&gt;â&lt;/span&gt;s judgment entered in &lt;/div&gt;
&lt;div&gt;favor of defendants, Larimer County Board of County &lt;/div&gt;
&lt;div&gt;Commissioners (the Board), Commissioners Tom Donnelly and &lt;/div&gt;
&lt;div&gt;Steve Johnson, and Northern Integrated Supply Proj&lt;span&gt;&lt;/span&gt;ect Water &lt;/div&gt;
&lt;div&gt;Activity Enterprise (the Enterprise), affirming the Board&lt;span&gt;â&lt;/span&gt;s approval &lt;/div&gt;
&lt;div&gt;of &lt;span&gt;the Enterpriseâs&lt;/span&gt; permit application for a water storage reservoir &lt;/div&gt;
&lt;div&gt;and transmission pipelines.  We affirm the judgment. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;In section 24-65.1-101(1)(a), C.R.S. 2024, the General &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Assembly declared that â[t]he protection of the utility,&lt;span&gt;&lt;/span&gt; value, and &lt;/div&gt;
&lt;div&gt;future of all lands within the state . . . is a matter of public &lt;/div&gt;
&lt;div&gt;interest.â  Local governments are thereby empowered to âdesignate &lt;/div&gt;
&lt;div&gt;[certain] areas and activities of state int&lt;span&gt;erestâ and, after such &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;designation, regulate such areas and activities.  Â§ &lt;span&gt;24&lt;/span&gt;-65.1-101(2)(b).  &lt;/div&gt;
&lt;div&gt;One such activity is the â[s]ite selection and construction of majo&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;new domestic water . . &lt;span&gt;. systems.â  &lt;/span&gt;Â§ &lt;span&gt;24&lt;/span&gt;-65.1-203(1)(a), C.R.S.&lt;span&gt;&lt;/span&gt; 2024. &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;Consistent with section 24-65.1-404, C.R.S. 2024, Larimer &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;County designated as a matter of state interest the â[s]iting&lt;span&gt; and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;development of new or extended domestic water or sewe&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4WBAELBD&amp;amp;Expires=1728871433&amp;amp;Signature=8ppzr%2BD1M%2FDevl2JHPFLieWSAZA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHAaCXVzLWVhc3QtMSJGMEQCIBWHVlqsC0b%2FCYDtQ1SwqOAAoBjQMvKLa3XzTOMHL7DQAiAwLNfPbz%2FcnIOmW2dIVTZvWCvKYkUdhRGbfBwZmxDOQCq6BQjJ%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM%2BUP6dFBH%2FXPHJ7eOKo4Fo3A7d0Li%2FMUs39WnNSRhYid3fSrKbI0mjsA36CY2TurpwMDjGnkKOV4PZDbYdwROCsUALqXBmdbCPRCdaIG%2FS2TBy5z4DXvTIUNF9Sdak91Nxk8azv54e6hc6ThHpSVVPo%2BEIHzCDfWMpl69abM2AgAv%2B8ApZA715pz1K4X5%2FodcTZsUsHDrE8o5%2FPHot76nhJvPGX8i21CVbmKnbWNaXi4GIIJQ0Rrxawg4eTMMSP4DBK2zNiBRCB%2FlQfs7ubxqUuTsbSgNtfav1Wd6VhnpVTAbjb7iyiRpT4iTN3dPsEi4ADWp2dKNaP4UqQsNM4TFVRcqxU7v7AiGzvvM%2BgbOiq64D32XGlrmqJ02BRqwVTuw78sRER2plptojT%2B7igDMxobFwRvlLrCGojq5vXIJcJbxvpLgs0kwEy3l9WSL3kfuOCEh1xa2LVP30kQZ8X3z8FJSnLTTK9bSRyLEMTxjFIZTu%2Ffh7mrts9sHzPYxEeUvHHpvjYa3lWnIK7cp351LYCeZoncUbEjryttjV%2Bgrm7n1wKg0gMycrzT0ITIFh0Fr92XpbRC6lO3LXQwZ2xjQ6%2Fm4pw1KX%2FB5YWDiy09aoZ4flQx9nfXYiYB3Y1fCQKfI3dWzshR7db5O6GDkMkcxMmeaoDnUDnJo6nc4pmphn1WVXSuiNocXGUHBYpQ%2Fo2zHQqCLsO7ID%2F%2B0TWifjaQeIrO%2Bp%2FD%2F4UrBDPV1ii2hsQ77SKGjxoJ9EEN0c%2B8oA05iOw9nPqOvjKMW8THv1XhZXiXtBKlef2CMmyaN9tPTG%2Bv8ncYxxybM16s5%2BiofSXsb%2FugGDuA27aAq6%2F%2BweM%2ByGDN%2BNVM%2Fjgqq4Hr7Mna2eWjGdJOIMz%2BtKFTm0oJTMLq9sbgGOrIBBl10i6zf9Wx2LZJ8A238q8%2By1PNXgwOHrrhTPWyR6DoyKLqy6RVUXFS9LvYhW4Nzy%2B8uKg7glgiUE3rNMexal5R%2Br2MrFyDvknZW76kg3NhcsmSPkraEb%2FCl4RwpKd2nfPG4EPIxhNhaupQsgkiYjZAdROGQLuHCSh2PJPkGmvateykZjA1dKeiG1%2B2fRYscGrxbc54t3BtA6l4HCuy9rv3sDAAjWPA03NYRjxNDLamxhQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;transmission lines which are contained within new permanent&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;easements greater than 30 feet&lt;span&gt;.â  Larimer Cnty&lt;/span&gt;. Land Use Code &lt;/div&gt;
&lt;div&gt;Â§ 14.4(J) (effective until Mar. 31, 2021) (Land Use Code).&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;An entity &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that seeks to develop such a project must obtain Board ap&lt;span&gt;&lt;/span&gt;proval.   &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;One way of securing Board approval is to obtain a permit, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;known as a â1041 permit&lt;span&gt;.&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;&lt;span&gt; A 1041 permit applicant&lt;span&gt;&lt;/span&gt; must show &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the project satisfies twelve review criteria delineated in section &lt;/div&gt;
&lt;div&gt;14.10(D) of the Land Use Code&lt;span&gt;.  &lt;/span&gt;Relevant to this appeal, the second &lt;/div&gt;
&lt;div&gt;criterion is that â[t]&lt;span&gt;he applicant has presented reasonable siting an&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;design alternatives or explained why no reasonable a&lt;span&gt;&lt;/span&gt;lternatives are &lt;/div&gt;
&lt;div&gt;available.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Land Use Code Â§&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;14.10(D)(2).&lt;span&gt;  &lt;span&gt;In lieu of the 1041 permit &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;process, the Land Use Code also allows for an intergovernmental &lt;/div&gt;
&lt;div&gt;agreement between the County and an applicant proposing to &lt;/div&gt;
&lt;div&gt;engage in an area or activity of state interest.  Land Use Code &lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;14.&lt;/span&gt;&lt;span&gt;8(A&lt;span&gt;).&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Enterprise sought to develop a water storage reservoi&lt;span&gt;&lt;/span&gt;r, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transmission water pipelines, and associated features, known a&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; All citations to the Land Use Code will be to the version effective &lt;/div&gt;
&lt;div&gt;until March 31, 2021, as that was the version in effect at the t&lt;span&gt;&lt;/span&gt;ime of &lt;/div&gt;
&lt;div&gt;the Boardâs action.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;the Northern Integrated Supply Project (NISP).  In 2016, the County &lt;/div&gt;
&lt;div&gt;and the Enterprise signed a memorandum of understanding &lt;/div&gt;
&lt;div&gt;pursuant to section 14.8(A&lt;span&gt;)(&lt;/span&gt;5) of the Land Use Code prior to &lt;/div&gt;
&lt;div&gt;engaging in the process of negotiating an intergovernmental &lt;/div&gt;
&lt;div&gt;agreement authorizing the NISP.  On November 14, 201&lt;span&gt;&lt;/span&gt;9, the &lt;/div&gt;
&lt;div&gt;Enterprise notified the Board that it wished to switch &lt;span&gt;&lt;/span&gt;from the &lt;/div&gt;
&lt;div&gt;intergovernmental agreement process to the 1041 permit &lt;/div&gt;
&lt;div&gt;application process because the Enterprise felt it would pr&lt;span&gt;&lt;/span&gt;ovide &lt;/div&gt;
&lt;div&gt;greater transparency and allow for more robust public particip&lt;span&gt;&lt;/span&gt;ation&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;On February 21, 2020, the Enterprise submitted a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1041 permit application for the development of the NISP.  The two &lt;/div&gt;
&lt;div&gt;main components of &lt;span&gt;the Enterpriseâs &lt;/span&gt;NISP 1041 permit application &lt;/div&gt;
&lt;div&gt;were the pipeline routes through Larimer County and the location of &lt;/div&gt;
&lt;div&gt;the Glade Reservoir.  The application contained multiple &lt;/div&gt;
&lt;div&gt;memoranda, including sections applying generally to NISP, as well &lt;/div&gt;
&lt;div&gt;as &lt;span&gt;some sections applying only to the pipelines and others applying &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;only to Glade Reservoir. &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;In Technical Memorandum No. 1 &lt;span&gt;â&lt;/span&gt; Project Description, the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Enterprise addressed the reasonable alternatives criterion as &lt;/div&gt;
&lt;div&gt;follows: &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;After many years of federal scientific studies &lt;/div&gt;
&lt;div&gt;and required environmental compliance with &lt;/div&gt;
&lt;div&gt;substantial public input, including input from &lt;/div&gt;
&lt;div&gt;Larimer County, approvals by the agencies of &lt;/div&gt;
&lt;div&gt;the State of Colorado and the permits issuing &lt;/div&gt;
&lt;div&gt;for the current project configuration, which is &lt;/div&gt;
&lt;div&gt;the subject of this permit application, &lt;span&gt;it is not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;possible at this juncture for the Applicant to &lt;/div&gt;
&lt;div&gt;submit a permit request for another Project &lt;/div&gt;
&lt;div&gt;configuration or alternative&lt;span&gt;.  Having &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;incongruent permit applications at various &lt;/div&gt;
&lt;div&gt;agencies is not a viable option, &lt;span&gt;therefore no &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reasonable alternatives are possible&lt;span&gt; at this &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;time as the other state and federal permitting &lt;/div&gt;
&lt;div&gt;agencies have acted. &lt;/div&gt;
&lt;div&gt;(Emphasis added.)   &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;In Technical Memorandum No. 2 &lt;span&gt;â&lt;/span&gt; Larimer County 1041 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Evaluation Criteria, the Enterprise addressed &lt;span&gt;th&lt;/span&gt;e reasonable &lt;/div&gt;
&lt;div&gt;alternatives criterion for the pipelines specifically, saying &lt;span&gt;â[a]&lt;/span&gt;fter &lt;/div&gt;
&lt;div&gt;further discussion with the County, the pipeline routing ident&lt;span&gt;&lt;/span&gt;ified &lt;/div&gt;
&lt;div&gt;in the latest Technical Memorandum No. 3 is the final alignment, &lt;/div&gt;
&lt;div&gt;recognizing that minor adjustments may be necessary in specific &lt;/div&gt;
&lt;div&gt;locations.â  In Technical Memorandum No. 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; Conveyance Pipelin&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Route Study &amp;amp; Analysis&lt;span&gt;, &lt;/span&gt;the Enterprise &lt;span&gt;presented its âpreferredâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;pipeline route, as well &lt;span&gt;as &lt;/span&gt;its prior analysis that supported selecting &lt;/div&gt;
&lt;div&gt;that route over several alternative routes.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ultimately, the Board approved the permit by a vote of two t&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;one, finding, as pertinent here, that the Enterprise had met section &lt;/div&gt;
&lt;div&gt;14.10(D)(2) of the Land Use Code&lt;span&gt;.  &lt;/span&gt;Specifically, the Board found &lt;/div&gt;
&lt;div&gt;that &lt;/div&gt;
&lt;div&gt;[the &lt;span&gt;Enterpriseâs] &lt;/span&gt;application presents a &lt;/div&gt;
&lt;div&gt;lengthy review of over 200 alternatives to NISP &lt;/div&gt;
&lt;div&gt;including alternative reservoir locations, &lt;/div&gt;
&lt;div&gt;expansion of existing reservoirs, use of ground &lt;/div&gt;
&lt;div&gt;aquifers in lieu of NISP, and a âNo Actionâ plan &lt;/div&gt;
&lt;div&gt;where NISP would not be developed.  Per the &lt;/div&gt;
&lt;div&gt;Army Corp of Engineers in the [Final &lt;/div&gt;
&lt;div&gt;Environmental Impact Statement], the &lt;/div&gt;
&lt;div&gt;proposed Glade Reservoir is the most &lt;/div&gt;
&lt;div&gt;appropriate and least impactful option when &lt;/div&gt;
&lt;div&gt;considering the mitigation plans imposed.  &lt;/div&gt;
&lt;div&gt;Many alternative pipeline routes for each &lt;/div&gt;
&lt;div&gt;segment were studied and presented in the &lt;/div&gt;
&lt;div&gt;application.&lt;span&gt;  &lt;span&gt;These route alternatives were &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;along a specific line which allowed for &lt;/div&gt;
&lt;div&gt;evaluation of actual impacts.  Numerous &lt;/div&gt;
&lt;div&gt;factors for the route combinations were &lt;/div&gt;
&lt;div&gt;evaluated, including disruption to surrounding &lt;/div&gt;
&lt;div&gt;property, existing development and utilities, &lt;/div&gt;
&lt;div&gt;the number of properties impacted, residential &lt;/div&gt;
&lt;div&gt;and urbanized areas, natural hazards, and &lt;/div&gt;
&lt;div&gt;environmental and wildlife impacts. &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs filed a complaint in the Larimer County District &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Court challenging the Boardâs approval.  &lt;span&gt;They sought district cou&lt;span&gt;&lt;/span&gt;rt &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;review of &lt;span&gt;the Boardâs decision&lt;/span&gt; under C.R.C.P. 106(a)(4), contending &lt;/div&gt;
&lt;div&gt;that the Board had abused its discretion or exceeded its juris&lt;span&gt;&lt;/span&gt;diction &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;by&lt;span&gt; approving &lt;span&gt;the Enterpriseâs&lt;/span&gt; 1041 permit application&lt;span&gt;.  &lt;/span&gt;They also &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sought a declaration under C.R.C.P. 57 (or, in the alternative, &lt;/div&gt;
&lt;div&gt;C.R.C.P. 106(a)(4)) that the participation of two of the count&lt;span&gt;&lt;/span&gt;y &lt;/div&gt;
&lt;div&gt;commissioners in the approval of the 1041 permit application &lt;/div&gt;
&lt;div&gt;violated plaintiffs&lt;span&gt;â&lt;/span&gt; due process rights because the commissione&lt;span&gt;&lt;/span&gt;rs &lt;/div&gt;
&lt;div&gt;were biased and should have recused themselves.  The district &lt;/div&gt;
&lt;div&gt;court dismissed the due process claim under C.R.C.P. 12(b)(5) &lt;span&gt;&lt;/span&gt;and &lt;/div&gt;
&lt;div&gt;affirmed the Boardâs approval of the 1041 permit applicati&lt;span&gt;&lt;/span&gt;on.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Dismissal of the Due Process Claim &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;We first reject &lt;span&gt;plaintiffsâ &lt;/span&gt;contention that the district court erred&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;by granting defendants&lt;span&gt;â&lt;/span&gt; motion to dismiss the due process bias &lt;/div&gt;
&lt;div&gt;claim. &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Standard of Review and Applicable Law &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review de novo &lt;span&gt;a district courtâs order granting a C.R.C.P. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;12(b)(5) motion to dismiss.  &lt;span&gt;Williams v. Rock-Tenn Servs., I&lt;span&gt;&lt;/span&gt;nc.&lt;span&gt;, 2016 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 18, Â¶ &lt;span&gt;9.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;We accept all factual averments in the complaint &lt;span&gt;&lt;/span&gt;as &lt;/div&gt;
&lt;div&gt;true and view them in the light most favorable to the plaintif&lt;span&gt;&lt;/span&gt;f.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Pub. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Serv. Co. of Colo. v. Van Wyk&lt;span&gt;, 27 P.3d 377, 386 (Colo. &lt;span&gt;&lt;/span&gt;2001&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;We &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;also review de novo a claim that a partyâs due proce&lt;span&gt;&lt;/span&gt;ss rights were &lt;/div&gt;
&lt;div&gt;violated.  &lt;span&gt;Black v. Black&lt;/span&gt;, 2020 COA 64M Â¶ 103.   &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMb/aZu/MMbaZubGMqbfwEvU0dCQwXs%2Bohqd%2BpSWpkifa7Poen1e4%3D?AWSAccessKeyId=ASIA5PHC3MTP4WBAELBD&amp;amp;Expires=1728871433&amp;amp;Signature=RznsbK9cMSjC%2F30ekWFPvQoahbk%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHAaCXVzLWVhc3QtMSJGMEQCIBWHVlqsC0b%2FCYDtQ1SwqOAAoBjQMvKLa3XzTOMHL7DQAiAwLNfPbz%2FcnIOmW2dIVTZvWCvKYkUdhRGbfBwZmxDOQCq6BQjJ%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM%2BUP6dFBH%2FXPHJ7eOKo4Fo3A7d0Li%2FMUs39WnNSRhYid3fSrKbI0mjsA36CY2TurpwMDjGnkKOV4PZDbYdwROCsUALqXBmdbCPRCdaIG%2FS2TBy5z4DXvTIUNF9Sdak91Nxk8azv54e6hc6ThHpSVVPo%2BEIHzCDfWMpl69abM2AgAv%2B8ApZA715pz1K4X5%2FodcTZsUsHDrE8o5%2FPHot76nhJvPGX8i21CVbmKnbWNaXi4GIIJQ0Rrxawg4eTMMSP4DBK2zNiBRCB%2FlQfs7ubxqUuTsbSgNtfav1Wd6VhnpVTAbjb7iyiRpT4iTN3dPsEi4ADWp2dKNaP4UqQsNM4TFVRcqxU7v7AiGzvvM%2BgbOiq64D32XGlrmqJ02BRqwVTuw78sRER2plptojT%2B7igDMxobFwRvlLrCGojq5vXIJcJbxvpLgs0kwEy3l9WSL3kfuOCEh1xa2LVP30kQZ8X3z8FJSnLTTK9bSRyLEMTxjFIZTu%2Ffh7mrts9sHzPYxEeUvHHpvjYa3lWnIK7cp351LYCeZoncUbEjryttjV%2Bgrm7n1wKg0gMycrzT0ITIFh0Fr92XpbRC6lO3LXQwZ2xjQ6%2Fm4pw1KX%2FB5YWDiy09aoZ4flQx9nfXYiYB3Y1fCQKfI3dWzshR7db5O6GDkMkcxMmeaoDnUDnJo6nc4pmphn1WVXSuiNocXGUHBYpQ%2Fo2zHQqCLsO7ID%2F%2B0TWifjaQeIrO%2Bp%2FD%2F4UrBDPV1ii2hsQ77SKGjxoJ9EEN0c%2B8oA05iOw9nPqOvjKMW8THv1XhZXiXtBKlef2CMmyaN9tPTG%2Bv8ncYxxybM16s5%2BiofSXsb%2FugGDuA27aAq6%2F%2BweM%2ByGDN%2BNVM%2Fjgqq4Hr7Mna2eWjGdJOIMz%2BtKFTm0oJTMLq9sbgGOrIBBl10i6zf9Wx2LZJ8A238q8%2By1PNXgwOHrrhTPWyR6DoyKLqy6RVUXFS9LvYhW4Nzy%2B8uKg7glgiUE3rNMexal5R%2Br2MrFyDvknZW76kg3NhcsmSPkraEb%2FCl4RwpKd2nfPG4EPIxhNhaupQsgkiYjZAdROGQLuHCSh2PJPkGmvateykZjA1dKeiG1%2B2fRYscGrxbc54t3BtA6l4HCuy9rv3sDAAjWPA03NYRjxNDLamxhQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;span&gt;âThe due process requirement of neutrality in adjudicative &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proceedings entitles a person to an impartial decision-&lt;span&gt;maker.â  &lt;span&gt;No&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Laporte Gravel Corp. &lt;span&gt;v.&lt;/span&gt; Bd. &lt;span&gt;of&lt;/span&gt; Cnty. &lt;span&gt;Commârs&lt;/span&gt;&lt;span&gt;, 2022 COA 6M, Â¶ 41.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âAn impartial adjudication requires âthe absence of a personal,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;financial, or official stake in the decision evidencing a conflict of &lt;/div&gt;
&lt;div&gt;interest on the part of a decision-maker.&lt;span&gt;â&lt;span&gt;â &lt;/span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt; (quoting&lt;span&gt;&lt;/span&gt; &lt;span&gt;Scott v. City &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of Englewood&lt;span&gt;, 672 P.2d 225, 228 (Colo. App. 1983)).&lt;span&gt;&lt;/span&gt;  â&lt;span&gt;This concept &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;encompasses both the absence of actual bias and the risk of actual &lt;/div&gt;
&lt;div&gt;bias.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;span&gt;â&lt;span&gt;These due process mandates are not limited to judicial &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;officers.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶ &lt;span&gt;44.&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[W]hen decision-making by nonjudicial officers &lt;/div&gt;
&lt;div&gt;bears sufficient similarities to the adjudicatory &lt;/div&gt;
&lt;div&gt;function performed by courts, we consider it &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;quasi-judicial&lt;/span&gt;â&lt;span&gt; and thereby subject to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;basic requirements of due process.  While such &lt;/div&gt;
&lt;div&gt;actors must ensure the fundamental fairness &lt;/div&gt;
&lt;div&gt;of the proceeding, they are not held to the &lt;/div&gt;
&lt;div&gt;more rigorous disqualification standards &lt;/div&gt;
&lt;div&gt;applicable to judicial officers through ethical &lt;/div&gt;
&lt;div&gt;codes or local rules of procedure.  Rather, the &lt;/div&gt;
&lt;div&gt;inquiry is simply whether actual bias or a risk &lt;/div&gt;
&lt;div&gt;of actual bias exists so as to compromise the &lt;/div&gt;
&lt;div&gt;neutrality of the quasi-judicial actor. &lt;/div&gt;
&lt;div&gt;Id.&lt;span&gt; (citations omitted).&lt;span&gt;  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP4WBAELBD&amp;amp;Expires=1728871433&amp;amp;Signature=I0hw1TYOUAknVQMbBvReEVWWCg8%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHAaCXVzLWVhc3QtMSJGMEQCIBWHVlqsC0b%2FCYDtQ1SwqOAAoBjQMvKLa3XzTOMHL7DQAiAwLNfPbz%2FcnIOmW2dIVTZvWCvKYkUdhRGbfBwZmxDOQCq6BQjJ%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM%2BUP6dFBH%2FXPHJ7eOKo4Fo3A7d0Li%2FMUs39WnNSRhYid3fSrKbI0mjsA36CY2TurpwMDjGnkKOV4PZDbYdwROCsUALqXBmdbCPRCdaIG%2FS2TBy5z4DXvTIUNF9Sdak91Nxk8azv54e6hc6ThHpSVVPo%2BEIHzCDfWMpl69abM2AgAv%2B8ApZA715pz1K4X5%2FodcTZsUsHDrE8o5%2FPHot76nhJvPGX8i21CVbmKnbWNaXi4GIIJQ0Rrxawg4eTMMSP4DBK2zNiBRCB%2FlQfs7ubxqUuTsbSgNtfav1Wd6VhnpVTAbjb7iyiRpT4iTN3dPsEi4ADWp2dKNaP4UqQsNM4TFVRcqxU7v7AiGzvvM%2BgbOiq64D32XGlrmqJ02BRqwVTuw78sRER2plptojT%2B7igDMxobFwRvlLrCGojq5vXIJcJbxvpLgs0kwEy3l9WSL3kfuOCEh1xa2LVP30kQZ8X3z8FJSnLTTK9bSRyLEMTxjFIZTu%2Ffh7mrts9sHzPYxEeUvHHpvjYa3lWnIK7cp351LYCeZoncUbEjryttjV%2Bgrm7n1wKg0gMycrzT0ITIFh0Fr92XpbRC6lO3LXQwZ2xjQ6%2Fm4pw1KX%2FB5YWDiy09aoZ4flQx9nfXYiYB3Y1fCQKfI3dWzshR7db5O6GDkMkcxMmeaoDnUDnJo6nc4pmphn1WVXSuiNocXGUHBYpQ%2Fo2zHQqCLsO7ID%2F%2B0TWifjaQeIrO%2Bp%2FD%2F4UrBDPV1ii2hsQ77SKGjxoJ9EEN0c%2B8oA05iOw9nPqOvjKMW8THv1XhZXiXtBKlef2CMmyaN9tPTG%2Bv8ncYxxybM16s5%2BiofSXsb%2FugGDuA27aAq6%2F%2BweM%2ByGDN%2BNVM%2Fjgqq4Hr7Mna2eWjGdJOIMz%2BtKFTm0oJTMLq9sbgGOrIBBl10i6zf9Wx2LZJ8A238q8%2By1PNXgwOHrrhTPWyR6DoyKLqy6RVUXFS9LvYhW4Nzy%2B8uKg7glgiUE3rNMexal5R%2Br2MrFyDvknZW76kg3NhcsmSPkraEb%2FCl4RwpKd2nfPG4EPIxhNhaupQsgkiYjZAdROGQLuHCSh2PJPkGmvateykZjA1dKeiG1%2B2fRYscGrxbc54t3BtA6l4HCuy9rv3sDAAjWPA03NYRjxNDLamxhQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;span&gt;â[T]hose serving in quasi&lt;span&gt;-judicial capacities are presumed to &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;act with âintegrity, honesty, and impartiality&lt;span&gt; . . . .&lt;/span&gt;ââ  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶ &lt;span&gt;&lt;/span&gt;&lt;span&gt;45&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;Scott&lt;/span&gt;, 672 P.2d &lt;span&gt;at&lt;/span&gt; 228).  To overcome this presumption an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;invalidate an agency action&lt;span&gt;, &lt;span&gt;a &lt;/span&gt;&lt;/span&gt;&lt;span&gt;plaintiff must show âsubstantial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prejudice.â  &lt;span&gt;Whitelaw v. Denver City Council&lt;span&gt;, 2017 COA 47, Â¶ &lt;span&gt;11&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;&lt;span&gt;No &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Laporte Gravel Corp.&lt;span&gt;, Â¶&lt;span&gt; &lt;span&gt;45&lt;/span&gt;.  In this regard, &lt;span&gt;a &lt;/span&gt;plaintiff must show &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the conflict, if any, had an impact âon the outcome of the &lt;/div&gt;
&lt;div&gt;proceeding.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶ &lt;span&gt;12.&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs contend that the complaint sufficiently plead&lt;span&gt;ed&lt;/span&gt; a due &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;process bias claim.  In support of this contention, they point to &lt;/div&gt;
&lt;div&gt;allegations in the complaint regarding Donnelly&lt;span&gt;âs&lt;/span&gt; &lt;span&gt;and Johnsonâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decade-long public advocacy in support of NISP, a text message &lt;/div&gt;
&lt;div&gt;sent by Donnelly, and an email sent by Johnson.  These allegati&lt;span&gt;&lt;/span&gt;ons &lt;/div&gt;
&lt;div&gt;are insufficient to state a due process bias claim.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;It&lt;/span&gt; is immaterial whether plaintiffs brought the due process &lt;/div&gt;
&lt;div&gt;violation claim pursuant to C.R.C.P. 57 or 106(a)(4) beca&lt;span&gt;&lt;/span&gt;use either &lt;/div&gt;
&lt;div&gt;way, plaintiffs have failed to state a claim upon which relief may be &lt;/div&gt;
&lt;div&gt;granted.&lt;span&gt;  &lt;span&gt;Thus, we need not resolve the partiesâ dispute over &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether an as-applied constitutional challenge is cognizable &lt;span&gt;&lt;/span&gt;under &lt;/div&gt;
&lt;div&gt;C.R.C.P. 57.   &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfa" data-dest-detail='[10,"XYZ",69,170,null]'&gt;&lt;div style="border-style:none;position:absolute;left:518.062222px;bottom:293.071111px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Public Advocacy for a Decade &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs highlight allegations in the complaint that both &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;commissioners had publicly advocated for NISP for a decade&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;including that they met with the Enterprise to discuss NISP; &lt;/div&gt;
&lt;div&gt;advocat&lt;span&gt;ed&lt;/span&gt;&lt;span&gt;, publicly support&lt;span&gt;ed&lt;/span&gt;, and endors&lt;span&gt;ed&lt;/span&gt; NISP; attended and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;spoke at multiple rallies organized by the Enterprise and &lt;/div&gt;
&lt;div&gt;support&lt;span&gt;ed&lt;/span&gt;&lt;span&gt;/endorsed NISP at such events; made public statements &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supporting/endorsing NISP in their official capacities as &lt;/div&gt;
&lt;div&gt;commissioners; and allow&lt;span&gt;ed&lt;/span&gt; the Enterprise to list their names as &lt;/div&gt;
&lt;div&gt;supporting/endorsing NISP.  They also point to allegations in the &lt;/div&gt;
&lt;div&gt;complaint that (1) the Enterprise prepared a document stating&lt;span&gt;&lt;/span&gt; that &lt;/div&gt;
&lt;div&gt;its strategy was to meet with key people including Johnson and &lt;/div&gt;
&lt;div&gt;Donnelly to obtain their support/endorsement; and (2) the &lt;/div&gt;
&lt;div&gt;Enterprise thank&lt;span&gt;ed&lt;/span&gt; Johnson for his support in an email, and &lt;/div&gt;
&lt;div&gt;Johnson replied that he appreciated being mentioned in an article &lt;/div&gt;
&lt;div&gt;stating that all three commissioners supported NISP&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Reading these allegations in the light most favorable to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;plaintiffs and taking them as true, they do not allege that &lt;span&gt;&lt;/span&gt;either &lt;/div&gt;
&lt;div&gt;commissioner had a personal, financial, or official stake in t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;decision of the Enterprise&lt;span&gt;âs&lt;/span&gt; 1041 permit application eviden&lt;span&gt;&lt;/span&gt;cing a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;conflict of interest&lt;span&gt;.  &lt;/span&gt;At most, these communications demonstrate &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;public expression of opinion or the taking of a political stance on &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;policy matter before deciding a particular issue&lt;span&gt;.  â&lt;/span&gt;The taking of a &lt;/div&gt;
&lt;div&gt;public stance on a policy issue related to the upcoming &lt;span&gt;&lt;/span&gt;hearing, &lt;/div&gt;
&lt;div&gt;however, âdoes not, in the absence of a showing of bias, disqualify &lt;/div&gt;
&lt;div&gt;the decision-maker.&lt;span&gt;ââ  &lt;span&gt;Meyerstein v. City of Aspen&lt;/span&gt;&lt;/span&gt;, 282 P.3d 4&lt;span&gt;&lt;/span&gt;56, &lt;/div&gt;
&lt;div&gt;468 (Colo. App. 2011) (quoting &lt;span&gt;Scott&lt;/span&gt;&lt;span&gt;, 672 P.2d &lt;span&gt;at&lt;span&gt;&lt;/span&gt;&lt;span&gt; 228).  Indeed, we &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;agree with the district court that the public expects elected officials &lt;/div&gt;
&lt;div&gt;to make public comments on policy matters and that doing s&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;before an election allows for greater transparency.  Such conduct, &lt;/div&gt;
&lt;div&gt;without more, does not disqualify officials from their quasi-judicial &lt;/div&gt;
&lt;div&gt;role.&lt;span&gt;  &lt;span&gt;See id.&lt;/span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;Further, plaintiffs have not alleged facts sufficient to rebut the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âpresumption of integrity, honesty, and impartialityâ&lt;span&gt; because they &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;have not alleged how these public comments had any impact &lt;span&gt;&lt;/span&gt;on the &lt;/div&gt;
&lt;div&gt;outcome of the proceeding.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Whitelaw&lt;/span&gt;, Â¶ 11 (quoting &lt;span&gt;Scott&lt;/span&gt;&lt;span&gt;, 672 P.&lt;span&gt;&lt;/span&gt;2d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;at 227)&lt;span&gt;.  &lt;/span&gt;Plaintiffs did &lt;span&gt;no&lt;/span&gt;t allege in the&lt;span&gt;ir&lt;/span&gt; complaint that either &lt;/div&gt;
&lt;div&gt;commissioner stated how he would vote on the Enterprise&lt;span&gt;âs&lt;/span&gt; 1041 &lt;/div&gt;
&lt;div&gt;permit application irrespective of what the quasi-judicial process &lt;/div&gt;
&lt;div&gt;revealed&lt;span&gt;.  &lt;span&gt;See City of Manassa v. Ruff&lt;span&gt;, 235 P.3d 1051, 1058 (Colo. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4WBAELBD&amp;amp;Expires=1728871433&amp;amp;Signature=8ppzr%2BD1M%2FDevl2JHPFLieWSAZA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHAaCXVzLWVhc3QtMSJGMEQCIBWHVlqsC0b%2FCYDtQ1SwqOAAoBjQMvKLa3XzTOMHL7DQAiAwLNfPbz%2FcnIOmW2dIVTZvWCvKYkUdhRGbfBwZmxDOQCq6BQjJ%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM%2BUP6dFBH%2FXPHJ7eOKo4Fo3A7d0Li%2FMUs39WnNSRhYid3fSrKbI0mjsA36CY2TurpwMDjGnkKOV4PZDbYdwROCsUALqXBmdbCPRCdaIG%2FS2TBy5z4DXvTIUNF9Sdak91Nxk8azv54e6hc6ThHpSVVPo%2BEIHzCDfWMpl69abM2AgAv%2B8ApZA715pz1K4X5%2FodcTZsUsHDrE8o5%2FPHot76nhJvPGX8i21CVbmKnbWNaXi4GIIJQ0Rrxawg4eTMMSP4DBK2zNiBRCB%2FlQfs7ubxqUuTsbSgNtfav1Wd6VhnpVTAbjb7iyiRpT4iTN3dPsEi4ADWp2dKNaP4UqQsNM4TFVRcqxU7v7AiGzvvM%2BgbOiq64D32XGlrmqJ02BRqwVTuw78sRER2plptojT%2B7igDMxobFwRvlLrCGojq5vXIJcJbxvpLgs0kwEy3l9WSL3kfuOCEh1xa2LVP30kQZ8X3z8FJSnLTTK9bSRyLEMTxjFIZTu%2Ffh7mrts9sHzPYxEeUvHHpvjYa3lWnIK7cp351LYCeZoncUbEjryttjV%2Bgrm7n1wKg0gMycrzT0ITIFh0Fr92XpbRC6lO3LXQwZ2xjQ6%2Fm4pw1KX%2FB5YWDiy09aoZ4flQx9nfXYiYB3Y1fCQKfI3dWzshR7db5O6GDkMkcxMmeaoDnUDnJo6nc4pmphn1WVXSuiNocXGUHBYpQ%2Fo2zHQqCLsO7ID%2F%2B0TWifjaQeIrO%2Bp%2FD%2F4UrBDPV1ii2hsQ77SKGjxoJ9EEN0c%2B8oA05iOw9nPqOvjKMW8THv1XhZXiXtBKlef2CMmyaN9tPTG%2Bv8ncYxxybM16s5%2BiofSXsb%2FugGDuA27aAq6%2F%2BweM%2ByGDN%2BNVM%2Fjgqq4Hr7Mna2eWjGdJOIMz%2BtKFTm0oJTMLq9sbgGOrIBBl10i6zf9Wx2LZJ8A238q8%2By1PNXgwOHrrhTPWyR6DoyKLqy6RVUXFS9LvYhW4Nzy%2B8uKg7glgiUE3rNMexal5R%2Br2MrFyDvknZW76kg3NhcsmSPkraEb%2FCl4RwpKd2nfPG4EPIxhNhaupQsgkiYjZAdROGQLuHCSh2PJPkGmvateykZjA1dKeiG1%2B2fRYscGrxbc54t3BtA6l4HCuy9rv3sDAAjWPA03NYRjxNDLamxhQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;2010) (â[I]n the absence of evidence .&lt;span&gt; . &lt;/span&gt;. the mere possibilityâ of &lt;/div&gt;
&lt;div&gt;prejudice âsimply poses too remote and insubstantial a risk &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;actual biasâ to implicate the guarantee of due process.).&lt;span&gt;  &lt;span&gt;Thus, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;these statements do not evince actual bias or a risk of actual bias.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Text Message &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs also point to an allegation in the&lt;span&gt;ir&lt;/span&gt; complaint &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;regarding an August 2019 text message exchange between D&lt;span&gt;&lt;/span&gt;onnelly &lt;/div&gt;
&lt;div&gt;and the Enterprise&lt;span&gt;âs &lt;/span&gt;Public Information Officer, in which Donnelly &lt;/div&gt;
&lt;div&gt;sa&lt;span&gt;id&lt;span&gt;, âYou guys are getting ready to blow this deal&lt;span&gt;,&lt;/span&gt;â and âNorthern &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;has no idea what is in store for them if they let this slide into the &lt;/div&gt;
&lt;div&gt;next boards [sic] &lt;span&gt;term.â  &lt;/span&gt;But Donnelly sent this text message when &lt;/div&gt;
&lt;div&gt;the Enterprise and the county were negotiating an &lt;/div&gt;
&lt;div&gt;intergovernmental agreement, as opposed to during the 1041 &lt;/div&gt;
&lt;div&gt;permit process.  It was not until approximately three months aft&lt;span&gt;&lt;/span&gt;er &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;We decline to address plaintiffsâ conclusory assertion &lt;span&gt;&lt;/span&gt;that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Donnelly&lt;span&gt;âs&lt;/span&gt;&lt;span&gt; &lt;span&gt;and Johnsonâs â&lt;/span&gt;public advocacy also violated [a]rticle &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;XXIX[, section ](1)(c) of the Colorado Constitution by creating &lt;span&gt;â&lt;/span&gt;&lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;justifiable impression among members of the public that&lt;span&gt;&lt;/span&gt; such &lt;/div&gt;
&lt;div&gt;[public] trust is being violated&lt;span&gt;â&lt;/span&gt; by their refusal to recuse &lt;/div&gt;
&lt;div&gt;themselves&lt;span&gt;.â  &lt;span&gt;See Fisher v. State Farm Mut. Auto. I&lt;span&gt;&lt;/span&gt;ns. Co.&lt;span&gt;, 2015 COA &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;57, Â¶ 18 (âWe generally decline to address arguments present&lt;span&gt;&lt;/span&gt;ed to &lt;/div&gt;
&lt;div&gt;us in a conclusory manner that are lacking citations to any &lt;/div&gt;
&lt;div&gt;supporting authority.â)&lt;span&gt;, &lt;/span&gt;&lt;span&gt;affâd&lt;/span&gt;&lt;span&gt;, 2018 CO 39. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfd" data-dest-detail='[13,"XYZ",69,219,null]'&gt;&lt;div style="border-style:none;position:absolute;left:669.402222px;bottom:752.010556px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;this text message was sent that the Enterprise notified the Board &lt;/div&gt;
&lt;div&gt;that it wanted to switch from the intergovernmental agreement &lt;/div&gt;
&lt;div&gt;process to the 1041 permit process and approximately six mont&lt;span&gt;&lt;/span&gt;hs &lt;/div&gt;
&lt;div&gt;after this text message was sent that the Enterprise submitted its &lt;/div&gt;
&lt;div&gt;1041 permit application&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Email &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, plaintiffs point to an email Johnson sent to someone &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;named Mandy &lt;span&gt;â&lt;/span&gt; who is not otherwise identified.&lt;span&gt;  &lt;/span&gt;In this email to &lt;/div&gt;
&lt;div&gt;Mandy, which appears to be a reply to a previous email (that is not &lt;/div&gt;
&lt;div&gt;in the record), Johnson said&lt;span&gt;, âNo itâs not a bad joke.  Itâs the &lt;span&gt;&lt;/span&gt;result &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of a disgusting and disingenuous email blast by Save the &lt;span&gt;&lt;/span&gt;Poudre[,] &lt;/div&gt;
&lt;div&gt;slanted and missing a lot of the facts designed to make the &lt;span&gt;&lt;/span&gt;County &lt;/div&gt;
&lt;div&gt;look bad.  Needless to say the&lt;span&gt;[y]&lt;/span&gt; &lt;span&gt;have lost ALL credibility with me.â &lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Johnson then discuss&lt;span&gt;ed&lt;/span&gt; the time requirements for when 1041 &lt;/div&gt;
&lt;div&gt;permit hearings need&lt;span&gt;ed&lt;/span&gt; to take place under the law, that&lt;span&gt;&lt;/span&gt; the Board &lt;/div&gt;
&lt;div&gt;had scheduled the hearing as late as possible, and that the &lt;span&gt;&lt;/span&gt;Board &lt;/div&gt;
&lt;div&gt;and an attorney were looking into whether the Board could delay &lt;/div&gt;
&lt;div&gt;the hearings.  This email postdated the Enterprise&lt;span&gt;âs&lt;/span&gt; submission of &lt;/div&gt;
&lt;div&gt;its 1041 permit application but concern&lt;span&gt;ed&lt;/span&gt; the timing of &lt;span&gt;&lt;/span&gt;the hearing &lt;/div&gt;
&lt;div&gt;rather than the substance of the Enterprise&lt;span&gt;âs&lt;/span&gt; 1041 permit &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;application.  Moreover, it does not follow that Johnson would &lt;/div&gt;
&lt;div&gt;approve the Enterprise&lt;span&gt;âs&lt;/span&gt; 1041 permit application simply because &lt;/div&gt;
&lt;div&gt;Save the Poudre lost credibility with him.&lt;span&gt;  &lt;/span&gt;Therefore, this email &lt;/div&gt;
&lt;div&gt;exchange does not evince actual bias or a risk of actual bias wit&lt;span&gt;&lt;/span&gt;h &lt;/div&gt;
&lt;div&gt;respect to the 1041 permit process. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;span&gt;In sum, plaintiffsâ complaint &lt;span&gt;failed to sufficiently allege a due &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;process violation.  Thus, the district court did not err by di&lt;span&gt;&lt;/span&gt;smissing &lt;/div&gt;
&lt;div&gt;th&lt;span&gt;is&lt;span&gt; claim. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Reasonable Siting and Design Alternatives &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;span&gt;We turn, then, to the merits of plaintiffsâ challenge to the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Boardâs approval of the 1041 permit.  &lt;span&gt;Plaintiffs contend that&lt;span&gt;&lt;/span&gt; the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Board abused its discretion by finding that the Enterpriseâs 1&lt;span&gt;&lt;/span&gt;041 &lt;/div&gt;
&lt;div&gt;permit application satisfied section 14.10(D)(2) of the Land Use &lt;/div&gt;
&lt;div&gt;Code.  We discern no reversible error. &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Standard of Review and Applicable Law &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;span&gt;âReview of a governmental bodyâ&lt;span&gt;s decision pursuant to Rule &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;106(a)(4) requires an appellate court to review the decisi&lt;span&gt;&lt;/span&gt;on of the &lt;/div&gt;
&lt;div&gt;governmental body itself rather than the district court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determination regarding the governmental body&lt;span&gt;âs decision.â  &lt;span&gt;No &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Laporte Gravel Corp.&lt;span&gt;, &lt;span&gt;Â¶ 23 (quoting &lt;/span&gt;&lt;/span&gt;Bd. of Cnty. Comm&lt;span&gt;â&lt;/span&gt;rs v. O&lt;span&gt;â&lt;/span&gt;&lt;span&gt;Dell&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;920 P.2d 48, 50 (Colo. 1996)).  &lt;span&gt;â&lt;/span&gt;Our review is limited t&lt;span&gt;&lt;/span&gt;o deciding &lt;/div&gt;
&lt;div&gt;whether the governmental body&lt;span&gt;â&lt;/span&gt;s decision was an abuse of &lt;/div&gt;
&lt;div&gt;discretion, based on the evidence in the record before it,&lt;span&gt;&lt;/span&gt; or was &lt;/div&gt;
&lt;div&gt;made in excess of its jurisdiction.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;A governmental body &lt;/div&gt;
&lt;div&gt;abuses its discretion if it misinterprets or misapplies t&lt;span&gt;&lt;/span&gt;he law or if no &lt;/div&gt;
&lt;div&gt;competent record evidence supports its decision.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;/span&gt; at Â¶ 2&lt;span&gt;4.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review and interpret the Land Use Code de novo and apply &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;ordinary rules of statutory interpretation.  &lt;span&gt;Id. &lt;/span&gt;&lt;span&gt;at&lt;/span&gt; Â¶ 26. &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Enterprise argues that it satisfied the criterion in section &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;14.10(D)(2) both for the proposed reservoir and fo&lt;span&gt;&lt;/span&gt;r the proposed &lt;/div&gt;
&lt;div&gt;pipelines&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;As to the siting of the reservoir, the Enterprise contends that&lt;span&gt;&lt;/span&gt; it &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;explained that no alternatives could be presented because &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;yearslong process that had already taken place to obtain &lt;span&gt;&lt;/span&gt;federal &lt;/div&gt;
&lt;div&gt;approval of the reservoir location.   &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs argue that this explanation fails to comply with t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requirements of section 14.10(D)(2) of the Land Use Code bec&lt;span&gt;&lt;/span&gt;ause it &lt;/div&gt;
&lt;div&gt;does not âprovide any legal or technical support for why&lt;span&gt;&lt;/span&gt; no &lt;/div&gt;
&lt;div&gt;reasonable siting and design alternatives were available.â  &lt;span&gt;They &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;further contend that to allow the federal approval process t&lt;span&gt;&lt;/span&gt;o take &lt;/div&gt;
&lt;div&gt;precedence ârenders meaningless the Countyâs authority ove&lt;span&gt;&lt;/span&gt;r site &lt;/div&gt;
&lt;div&gt;selection and design of major water projects&lt;span&gt;â and is inconsistent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;with section 14.6(B) of the Land Use Code, which provides that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;â[r]eview or approval of a project by a federal or state &lt;span&gt;&lt;/span&gt;agency does &lt;/div&gt;
&lt;div&gt;not obviate, and will not substitute for, the need to obtain a &lt;span&gt;&lt;/span&gt;1041 &lt;/div&gt;
&lt;div&gt;permit for that project.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;As for the pipeline component of its application, the Enterprise &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contends that &lt;span&gt;it&lt;/span&gt; elected to comply with section 14.10(D)(2) &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;Land Use Code by &lt;span&gt;âpresenting reasonable siting and design &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alternatives.&lt;span&gt;â &lt;/span&gt;&lt;span&gt; Specifically, the Enterprise submitted Technic&lt;span&gt;&lt;/span&gt;al &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Memorandum No. 3, which provid&lt;span&gt;ed&lt;/span&gt; &lt;span&gt;a &lt;span&gt;ââ&lt;/span&gt;&lt;/span&gt;site analysis process and &lt;/div&gt;
&lt;div&gt;specific review criteriaâ for alternative pipeline routes&lt;span&gt;.&lt;/span&gt;&lt;span&gt;â&lt;span&gt;  &lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs counter that the alternatives discussed in Technical &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Memorandum No. 3 were nothing more than options that &lt;span&gt;t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Enterprise&lt;span&gt; had considered and rejected.  The permit applicati&lt;span&gt;&lt;/span&gt;on, on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the other hand, only presented to the Board the Enterpriseâ&lt;span&gt;&lt;/span&gt;s &lt;span&gt;single &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;preferred&lt;span&gt; pipeline route.  Plaintiffs argue that the generally &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;applicable statement in Technical Memorandum No. 1 &lt;span&gt;â&lt;/span&gt; that&lt;span&gt;&lt;/span&gt; it was &lt;/div&gt;
&lt;div&gt;not possible to present an alternative configuration for the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4WBAELBD&amp;amp;Expires=1728871433&amp;amp;Signature=8ppzr%2BD1M%2FDevl2JHPFLieWSAZA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHAaCXVzLWVhc3QtMSJGMEQCIBWHVlqsC0b%2FCYDtQ1SwqOAAoBjQMvKLa3XzTOMHL7DQAiAwLNfPbz%2FcnIOmW2dIVTZvWCvKYkUdhRGbfBwZmxDOQCq6BQjJ%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM%2BUP6dFBH%2FXPHJ7eOKo4Fo3A7d0Li%2FMUs39WnNSRhYid3fSrKbI0mjsA36CY2TurpwMDjGnkKOV4PZDbYdwROCsUALqXBmdbCPRCdaIG%2FS2TBy5z4DXvTIUNF9Sdak91Nxk8azv54e6hc6ThHpSVVPo%2BEIHzCDfWMpl69abM2AgAv%2B8ApZA715pz1K4X5%2FodcTZsUsHDrE8o5%2FPHot76nhJvPGX8i21CVbmKnbWNaXi4GIIJQ0Rrxawg4eTMMSP4DBK2zNiBRCB%2FlQfs7ubxqUuTsbSgNtfav1Wd6VhnpVTAbjb7iyiRpT4iTN3dPsEi4ADWp2dKNaP4UqQsNM4TFVRcqxU7v7AiGzvvM%2BgbOiq64D32XGlrmqJ02BRqwVTuw78sRER2plptojT%2B7igDMxobFwRvlLrCGojq5vXIJcJbxvpLgs0kwEy3l9WSL3kfuOCEh1xa2LVP30kQZ8X3z8FJSnLTTK9bSRyLEMTxjFIZTu%2Ffh7mrts9sHzPYxEeUvHHpvjYa3lWnIK7cp351LYCeZoncUbEjryttjV%2Bgrm7n1wKg0gMycrzT0ITIFh0Fr92XpbRC6lO3LXQwZ2xjQ6%2Fm4pw1KX%2FB5YWDiy09aoZ4flQx9nfXYiYB3Y1fCQKfI3dWzshR7db5O6GDkMkcxMmeaoDnUDnJo6nc4pmphn1WVXSuiNocXGUHBYpQ%2Fo2zHQqCLsO7ID%2F%2B0TWifjaQeIrO%2Bp%2FD%2F4UrBDPV1ii2hsQ77SKGjxoJ9EEN0c%2B8oA05iOw9nPqOvjKMW8THv1XhZXiXtBKlef2CMmyaN9tPTG%2Bv8ncYxxybM16s5%2BiofSXsb%2FugGDuA27aAq6%2F%2BweM%2ByGDN%2BNVM%2Fjgqq4Hr7Mna2eWjGdJOIMz%2BtKFTm0oJTMLq9sbgGOrIBBl10i6zf9Wx2LZJ8A238q8%2By1PNXgwOHrrhTPWyR6DoyKLqy6RVUXFS9LvYhW4Nzy%2B8uKg7glgiUE3rNMexal5R%2Br2MrFyDvknZW76kg3NhcsmSPkraEb%2FCl4RwpKd2nfPG4EPIxhNhaupQsgkiYjZAdROGQLuHCSh2PJPkGmvateykZjA1dKeiG1%2B2fRYscGrxbc54t3BtA6l4HCuy9rv3sDAAjWPA03NYRjxNDLamxhQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;project &lt;span&gt;â&lt;/span&gt; makes it clear that Technical Memorandum No. &lt;span&gt;&lt;/span&gt;3 did not &lt;/div&gt;
&lt;div&gt;present alternatives for &lt;span&gt;the Boardâs&lt;/span&gt; consideration but, &lt;span&gt;&lt;/span&gt;rather, &lt;/div&gt;
&lt;div&gt;simply discussed options that the Enterprise had already rule&lt;span&gt;&lt;/span&gt;d out.   &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;Given &lt;span&gt;the Boardâs language in its finding&lt;/span&gt;, it is not entirely &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;clear whether the Board determined that the Enterprise ha&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;satisfied section 14.10(D)(2) by providing alternatives o&lt;span&gt;&lt;/span&gt;r by &lt;/div&gt;
&lt;div&gt;explaining that none could be provided.  While the Board &lt;span&gt;&lt;/span&gt;observed &lt;/div&gt;
&lt;div&gt;that the application âpresent[ed] a lengthy review of over 20&lt;span&gt;&lt;/span&gt;0 &lt;/div&gt;
&lt;div&gt;alternativesâ for the reservoi&lt;span&gt;r location, it did not say &lt;span&gt;the Boa&lt;span&gt;&lt;/span&gt;rd&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;considered these alternatives; rather, it explained that &lt;span&gt;&lt;/span&gt;the Army &lt;/div&gt;
&lt;div&gt;Corps of Engineers had concluded that the proposed &lt;span&gt;&lt;/span&gt;reservoir &lt;/div&gt;
&lt;div&gt;locati&lt;span&gt;on was the âmost appropriate and least impactful o&lt;span&gt;&lt;/span&gt;ption.â  As &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for the pipelines&lt;span&gt;, &lt;/span&gt;the Board described, in passive language, that &lt;/div&gt;
&lt;div&gt;â[m]any alternative pipeline routes for each segment were studied &lt;/div&gt;
&lt;div&gt;and presented in the applicationâ and that numerous factors &lt;span&gt;&lt;/span&gt;âwere &lt;/div&gt;
&lt;div&gt;evaluatedâ â&lt;span&gt; not saying whether the Board evaluated these &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alternatives or factors.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Notably, the record reflects that county representatives had &lt;/div&gt;
&lt;div&gt;provided input during the discussions with the federal gove&lt;span&gt;&lt;/span&gt;rnment &lt;/div&gt;
&lt;div&gt;as well &lt;span&gt;â&lt;/span&gt; even before the 1041 permit application was f&lt;span&gt;&lt;/span&gt;iled.   &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf12" data-dest-detail='[18,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:285.532222px;bottom:206.016111px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP4WBAELBD&amp;amp;Expires=1728871433&amp;amp;Signature=I0hw1TYOUAknVQMbBvReEVWWCg8%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHAaCXVzLWVhc3QtMSJGMEQCIBWHVlqsC0b%2FCYDtQ1SwqOAAoBjQMvKLa3XzTOMHL7DQAiAwLNfPbz%2FcnIOmW2dIVTZvWCvKYkUdhRGbfBwZmxDOQCq6BQjJ%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM%2BUP6dFBH%2FXPHJ7eOKo4Fo3A7d0Li%2FMUs39WnNSRhYid3fSrKbI0mjsA36CY2TurpwMDjGnkKOV4PZDbYdwROCsUALqXBmdbCPRCdaIG%2FS2TBy5z4DXvTIUNF9Sdak91Nxk8azv54e6hc6ThHpSVVPo%2BEIHzCDfWMpl69abM2AgAv%2B8ApZA715pz1K4X5%2FodcTZsUsHDrE8o5%2FPHot76nhJvPGX8i21CVbmKnbWNaXi4GIIJQ0Rrxawg4eTMMSP4DBK2zNiBRCB%2FlQfs7ubxqUuTsbSgNtfav1Wd6VhnpVTAbjb7iyiRpT4iTN3dPsEi4ADWp2dKNaP4UqQsNM4TFVRcqxU7v7AiGzvvM%2BgbOiq64D32XGlrmqJ02BRqwVTuw78sRER2plptojT%2B7igDMxobFwRvlLrCGojq5vXIJcJbxvpLgs0kwEy3l9WSL3kfuOCEh1xa2LVP30kQZ8X3z8FJSnLTTK9bSRyLEMTxjFIZTu%2Ffh7mrts9sHzPYxEeUvHHpvjYa3lWnIK7cp351LYCeZoncUbEjryttjV%2Bgrm7n1wKg0gMycrzT0ITIFh0Fr92XpbRC6lO3LXQwZ2xjQ6%2Fm4pw1KX%2FB5YWDiy09aoZ4flQx9nfXYiYB3Y1fCQKfI3dWzshR7db5O6GDkMkcxMmeaoDnUDnJo6nc4pmphn1WVXSuiNocXGUHBYpQ%2Fo2zHQqCLsO7ID%2F%2B0TWifjaQeIrO%2Bp%2FD%2F4UrBDPV1ii2hsQ77SKGjxoJ9EEN0c%2B8oA05iOw9nPqOvjKMW8THv1XhZXiXtBKlef2CMmyaN9tPTG%2Bv8ncYxxybM16s5%2BiofSXsb%2FugGDuA27aAq6%2F%2BweM%2ByGDN%2BNVM%2Fjgqq4Hr7Mna2eWjGdJOIMz%2BtKFTm0oJTMLq9sbgGOrIBBl10i6zf9Wx2LZJ8A238q8%2By1PNXgwOHrrhTPWyR6DoyKLqy6RVUXFS9LvYhW4Nzy%2B8uKg7glgiUE3rNMexal5R%2Br2MrFyDvknZW76kg3NhcsmSPkraEb%2FCl4RwpKd2nfPG4EPIxhNhaupQsgkiYjZAdROGQLuHCSh2PJPkGmvateykZjA1dKeiG1%2B2fRYscGrxbc54t3BtA6l4HCuy9rv3sDAAjWPA03NYRjxNDLamxhQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;But w&lt;span&gt;e &lt;/span&gt;need not resolve whether the Board considered &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alternatives or, instead, accepted the assertion that no alternatives &lt;/div&gt;
&lt;div&gt;were viable.  The requirement of section 14.10(D)(2) is &lt;span&gt;&lt;/span&gt;stated in the &lt;/div&gt;
&lt;div&gt;disjunctive &lt;span&gt;â&lt;/span&gt; &lt;span&gt;â[t]he applicant has presented reasonable siting an&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;design alternatives &lt;span&gt;or&lt;/span&gt; explained why no reasonable alternative&lt;span&gt;&lt;/span&gt;s are &lt;/div&gt;
&lt;div&gt;available.â &lt;span&gt; (Emphasis added.)&lt;span&gt;  &lt;/span&gt;There is record support for eithe&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conclusion.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Thus, regardless of which path the Board took in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;finding that this criterion was met, we cannot say it abused its &lt;/div&gt;
&lt;div&gt;discretion.  &lt;span&gt;See No Laporte Gravel Corp.&lt;/span&gt;, Â¶ 24.   &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;span&gt;Nor do we agree with plaintiffsâ objection that the Boardâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;action essentially abdicated its authority over site selection an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;design.  It was certainly within the Boardâs power to agree wit&lt;span&gt;&lt;/span&gt;h the &lt;/div&gt;
&lt;div&gt;federal governmentâs determination.  Similarly, we reject plaintif&lt;span&gt;&lt;/span&gt;fsâ &lt;/div&gt;
&lt;div&gt;contention that the Boardâs action runs afoul of &lt;span&gt;section 14.6(B) of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the Land Use Code.  That provision means only that, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;Plaintiffsâ contention that there is no record support &lt;span&gt;&lt;/span&gt;is unavailing.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Their arguments simply ask us to reweigh the evidence, which &lt;span&gt;&lt;/span&gt;we &lt;/div&gt;
&lt;div&gt;cannot do.  &lt;span&gt;See No Laporte Gravel Corp. v. Bd. of Cnty. Comm&lt;span&gt;â&lt;/span&gt;&lt;span&gt;rs&lt;/span&gt;&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2022 COA 6M, Â¶ 25 (â&lt;span&gt;Because we are not the fact finder, we &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;cannot &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;weigh the evidence or substitute our own judgment for that&lt;span&gt;&lt;/span&gt; of the &lt;/div&gt;
&lt;div&gt;[administrative body].&lt;span&gt;ââ&lt;/span&gt; (quoting &lt;span&gt;Kruse v. Town of Cast&lt;span&gt;&lt;/span&gt;le Rock&lt;span&gt;, 192 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 591, 601 (Colo. App. 2008))) (alteration in original). &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf13" data-dest-detail='[19,"XYZ",69,187,null]'&gt;&lt;div style="border-style:none;position:absolute;left:189.302778px;bottom:626.008889px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt;notwithstanding receiving the approval of the federal government&lt;span&gt;&lt;/span&gt;, &lt;/div&gt;
&lt;div&gt;the Enterprise had to seek the Boardâs approval of a 1041 &lt;span&gt;&lt;/span&gt;permit.  &lt;/div&gt;
&lt;div&gt;It did so.   &lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the Board did not abuse its discretion, we affirm t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district courtâs judgment.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment is affirmed.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE KUHN and JUDGE TAUBMAN concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
